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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DIVISION OF TEXAS
                                GALVESTON DIVISION

STAN JENNINGS,                 )(
                               )(
                   Plaintiff,  )(                      CIVIL ACTION NO.:3:17-cv-243
                               )(
V.                             )(                      (JURY TRIAL)
                               )(
BRAZORIA COUNTY, TEXAS, and    )(
MAINTENANCE SUPERVISOR JONES, )(
Individually,                  )(
                               )(
                   Defendants. )(

          UNOPPOSED RANDALL L. KALLINEN’S MOTION TO WITHDRAW

TO THE HONORABLE GEORGE C. HANKS:

COMES NOW Randall L. Kallinen and files this Unopposed motion to withdraw as attorney for

plaintiff Stan Jennings in this civil action and sets forth as follows:

                                ARGUMENT and AUTHORITY

Plaintiff informed Kallinen that he no longer wants Kallinen working on his case.

Kallinen has informed Plaintiff he is withdrawing from this case.

Plaintiff’s current address is Stan Jennings, 117 Gardenia, Lake Jackson, Texas 77566.

                                              PRAYER

Randall L. Kallinen requests he be allowed to withdraw and requests all other relief in law and/or

equity to which he shows himself entitled.

                               Respectfully Submitted,

                               /s/ Randall L. Kallinen
                               Kallinen Law PLLC
                               State Bar of Texas No. 00790995
                               Southern District of Texas Bar No.: 19417
                               Admitted, U.S. Supreme Court, 5th U.S. Circuit Court of Appeals,
                               & Southern, Eastern & Western Districts of TX

Motion to Withdraw                                                             Page 1 of 2
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                              Houston, Texas 77012
                              Telephone:     713.320.3785
                              FAX:           713.893.6737
                              Email:         AttorneyKallinen@aol.com
                              Attorney for Plaintiff

                            CERTIFICATE OF CONFERENCE
      I conferred in good faith with defendants’ counsel by email January 7th, 2019 and she was
Unopposed to the relief sought after the case is dismissed.

                                                                    /s/ Randall L. Kallinen
                                                                    Randall L. Kallinen

                                 CERTIFICATE OF SERVICE
       I certify that I have served a true and correct copy of the foregoing upon all counsel of
record and pro se parties on this the 8th day of January 2019, by filing with the ECF system of the
U.S. Southern District of Texas.

                                                                    /s/ Randall L. Kallinen
                                                                    Randall L. Kallinen




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